                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

ERIC DEWAYNE CATHEY,                  §
                                      §
                    Petitioner,       §
                                      §
vs.                                   § CIVIL ACTION NO. 4:15-CV-2883
                                      §
                                      § *** DEATH PENALTY CASE ***
                                      §
BOBBY LUMPKIN, Director,              §
Texas Department of Criminal Justice, §
Correctional Institutions Division,   §
                                      §
                    Respondent.       §
_____________________________________

    OPPOSITION TO RESPONDENT LUMPKIN’S MOTION FOR A
   PROPOSED SCHEDULING ORDER AND PETITIONER CATHEY’S
   OPPOSED MOTION FOR SCHEDULING ORDER AND LEAVE TO
                     AMEND PETITION

      Petitioner Eric Dewayne Cathey responds to the Opposed Motion for

Proposed Scheduling Order, Dkt. 44. The Court’s March 31, 2022 Order, Dkt. 43,

required the parties to confer and submit a proposed scheduling order for this habeas

proceeding. The parties conferred and have agreed on nearly all issues. First, the

State has proposed a simultaneous briefing schedule, but Petitioner believes the

normal briefing schedule should apply. Petitioner understands the State will likely

move to dismiss, and Petitioner will respond accordingly. The parties’ primary

disagreement, however, regards whether Petitioner should have the opportunity to


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amend his Petition prior to briefing issues related to the Court’s gatekeeping role

under the Anti-Terrorism and Effective Death Penalty Act (AEDPA).

      Pursuant to the Court’s May 18, 2017 Order, Dkt. 31, the parties must submit

briefing on the issue of whether AEDPA conclusively authorizes district court

review of Petitioner’s successive petition. On July 28, 2017, the Court granted

Petitioner’s Opposed Motion for Stay and Abeyance in Light of Moore so Petitioner

could exhaust his Atkins claim in state court in light of the United States Supreme

Court’s interceding decision in Moore v. Texas, 137 S. Ct. 1039 (2017). See Dkt.

40. Another evidentiary hearing was held in state court where the district judge ruled

in Petitioner’s favor. Ex Parte Cathey, No. 713189-B, Court’s Findings of Fact and

Conclusions of Law (176th Dist. Ct., Harris County, Tex. Jun. 15, 2020).

Afterwards, the Court of Criminal Appeals declined to follow the ruling of the lower

court and denied relief. Ex Parte Cathey, Writ. No. 55,161-02 (Tex. Crim. App. Apr.

28, 2021) (unpublished).

      Accordingly, Petitioner believes it is in the interest of judicial efficiency to

inform the Court of the related state court proceedings that occurred subsequent to

the stay in this case before the parties brief issues related to the Court’s gatekeeping

function under AEDPA. An “[a]pplication for a writ of habeas corpus . . . may be

amended or supplemented as provided in the rules of procedure applicable to civil

actions.” 28 U.S.C. § 2242; see also, Fed. R. Civ. P. 81(a)(2) (The civil rules “are


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applicable to proceedings for ... habeas corpus”). Thus, federal habeas petitions may

be amended “with ‘leave of court’ any time during a proceeding,” and “once as a

‘matter of course’” before a responsive pleading is served. Mayle v. Felix, 545 U.S.

644, 655 (2005) (citing Fed. R. Civ. Proc. 15(a); 15(c)(2)).

      The State has not yet served a responsive pleading in this case; thus, Petitioner

should be free to amend his petition without the State’s consent “as a matter of

course.” See Fed. R. Civ. P. 15(a). In addition or in the alternative, Petitioner seeks

the Court’s leave to file an amended petition because “justice so requires.” Fed. R.

Civ. P. 15(a)(2). A petitioner should “specify all the grounds for relief available”

and “state the facts supporting each ground” with particularity. See Habeas Rule

2(c). Thus, it is particularly important that Petitioner incorporate the facts and

procedural history arising from the most recent state court proceedings that support

his already pending Atkins claim before this Court.

      Finally, in other federal habeas cases in which a stay was temporarily entered,

at least two United States District Courts in Texas, including the Southern District,

have granted leave to petitioners to amend their original petitions in conjunction with

the reopening of the case. See Order, Prible v. Thaler, No. 4:09-cv-1896 (S.D. Tex.

Jan. 3, 2012), ECF No. 32 (granting petitioner’s motion for leave to amend), and

Order, Prible v. Thaler, No. 4:09-cv-1896 (S.D. Tex. Feb. 7, 2012), ECF No. 34

(ordering petitioner to file the amended petition in 98 days) (Exhibit A); see also


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Agreed Mot. to Lift Stay and Enter Agreed Briefing Schedule, Ibarra v. Lumpkin,

No. 6:02-cv-00052-ADA (W.D. Tex. Oct. 16, 2008), ECF No. 97 (where agreed

briefing schedule permitted petitioner to submit an amended petition in 81 days)

(Exhibit B).

      Accordingly, Petitioner proposes the following briefing schedule. Attached

is a form of a proposed scheduling order. Other than the schedule for filing an

Amended Petition, the State has indicated it has no issues with the remaining dates

proposed below.

      1. Petitioner will file an Amended Petition by July 29, 2022.

      2. The State will file a motion related to the Court’s gatekeeping role under

         AEDPA by November 21, 2022.

      3. Petitioner will file a response to the State’s motion by February 19, 2023.

      4. State may file a reply to Petitioner’s response by March 21, 2023.

      5. Petitioner may file a sur-reply to the State’s reply by April 20, 2023.




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                                             Dated: May 2, 2022

                                             Respectfully submitted,

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                       CERTIFICATE OF CONFERENCE

      This motion is filed pursuant to the Court’s March 31, 2022 Order, Dkt. 43.

Counsel for Petitioner conferred with opposing counsel regarding this motion, and

the parties’ primary disagreement regarding the scheduling order was the inclusion

of a period for Petitioner to amend his Petition.

Certified this 2nd day of May, 2022.


                                           /s/ Layne E. Kruse
                                           Layne E. Kruse


                          CERTIFICATE OF SERVICE

      I certify that on May 2, 2022 a copy of the foregoing motion was served via

PACER/ECF upon opposing counsel identified below. Counsel consented in

writing to electronic service.

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